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                     18   SYMANTEC LIMITED
                     19                              UNITED STATES DISTRICT COURT
                     20
                                       NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO
                     21
                          SYMANTEC CORPORATION and                      Case No. 3:17-CV-04414-JST
                     22   SYMANTEC LIMITED,
                                                                        [PROPOSED] ORDER GRANTING
                     23                     Plaintiffs,                 PLAINTIFFS’ UNOPPOSED
                                                                        ADMINISTRATIVE
                     24          vs.                                    MOTION FOR LEAVE TO FILE A
                                                                        STATEMENT OF RECENT DECISION
                     25   ZSCALER, INC,

                     26                     Defendant.                  Date Filed: June 22, 2017
                                                                        Trial Date: June 14, 2021
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                                                               [PROPOSED] ORDER
                                                              Case: 3:17-cv-04414-JST
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                      1          The Court has reviewed Plaintiffs’ Unopposed Administrative Motion for Leave to File a

                      2   Statement of Recent Decision (“Motion”). After consideration of the Motion, and the papers

                      3   submitted in support of the Motion, the Court finds that a statement of recent decision is

                      4   warranted.

                      5          Accordingly, Plaintiffs’ Administrative Motion for Leave to File a Statement of Recent

                      6   Decision is GRANTED.

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                      9          IT IS SO ORDERED.

                     10   DATED:       August 1, 2019

                     11
BAKER BOTTS L.L.P.




                                                                     Hon. Jon S. Tigar
                     12                                              United States District Judge

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                                                             [PROPOSED] ORDER
                                                            Case: 3:17-cv-04414-JST
